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 6
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 7
 8                                   UNITED STATES DISTRICT COURT
 9                                       DISTRICT OF ARIZONA
10
   HKB, INC., an Arizona corporation,             No. 2:16-cv-03799
11 doing business as SOUTHWEST
   INDUSTRIAL RIGGING,                            NOTICE OF CALIFORNIA COURT
12                                                RULING RE: VENUE
                       Plaintiffs,
13
   v.
                                                  (Assigned to the Honorable Diane J.
14                                                Humetawa)
   BOARD OF TRUSTEES FOR THE
15 SOUTHWEST CARPENTER’S
   SOUTHWEST TRUST;
16 CARPENTERS SOUTHWEST
   ADMINISTRATIVE CORP.,
17
                       Defendants.
18
19            Plaintiff HKB, Inc., dba Southwest Industrial Rigging (“Southwest”) hereby
20 provides notice of a ruling issued by the California federal district court transferring
21 venue of a closely related case to this Court. The ruling is attached as Exhibit A. The
22 ruling significantly narrows the pending Motion to Dismiss Pursuant to FRCP 12(B)(3),
23 (6), (7), or, in the Alternative, to Stay Action (Doc. 14) filed by defendants Board of
24 Trustees for the Southwest Carpenter’s Southwest Trust and Carpenters Southwest
25 Administrative Corp. (collectively, the “Funds”). Relevant here, the Funds’ motion was
26 based on the first-to-file rule (the Funds filed their lawsuit against Southwest in
27 California just a few days before Southwest filed this lawsuit here) and a purported
28 forum-selection clause in favor of California. The California district court disposed of

     CORE/3008422.0002/131374292.1
       Case 2:16-cv-03799-DJH Document 23 Filed 01/24/17 Page 2 of 3




 1 those arguments by concluding that “the Arizona District court is the most appropriate
 2 forum to determine all the issues.”1 That decision is entitled to deference by this Court
 3 as law of the case.2 Thus, based upon the California court’s ruling, the Funds’ pending
 4 motion should be denied to the extent it argues that this Court is an improper venue.
 5            The California court’s ruling does not entirely dispose of the Funds’ pending
 6 motion to dismiss or stay. The motion seeks dismissal for four reasons: (1) first-to-file
 7 rule, (2) failure to join an indispensable party, (3) federal preemption, and (4) a
 8 purported forum-selection clause.3 None of the Funds’ arguments have merit, but the
 9 California court’s ruling only disposes of the first and fourth arguments. To the extent
10 the pending motion addresses failure to join an indispensable party and preemption, it
11 should be denied for the reasons set forth in its Opposition (Doc. 19).
12            RESPECTFULLY SUBMITTED 24th day of January 2016.
13                                               STINSON LEONARD STREET LLP
14                                        By:    /s/ Javier Torres
15                                               James E. Holland, Jr.
                                                 Javier Torres
16                                               1850 North Central Avenue, Suite 2100
                                                 Phoenix, Arizona 85004-4584
17                                               Attorneys for Southwest Industrial Rigging
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     Civil Minutes (1/17/17) p. 1—Central District of California CV-16-08040-MWF-SK
26 (Doc 28), attached as Ex. A.
   2
27 3 c.f. Christianson v. Colt Industries, 486 U.S. 800, 819, 108 S.Ct. 2166, 2179 (1988).
     Motion to Dismiss Pursuant to FRCP 12(B)(3), (6), (7), or, in the Alternative, to Stay
28 Action p.1 (Doc 14).
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                                                2
       Case 2:16-cv-03799-DJH Document 23 Filed 01/24/17 Page 3 of 3



                                     CERTIFICATE OF SERVICE
 1
 2            I hereby certify that on January 24, 2017 I caused the foregoing document to be

 3 filed electronically with the Clerk of Court through ECF; and that ECF will send an e-
 4
     notice of the electronic filing to:
 5
 6            Daniel Shanley
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              Los Angeles, California 90071-1706
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 9
10
11                                              /s/ Celia M. Guerrero

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